    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 1 of 16



                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

United States of America,
                                                       MEMORANDUM OPINION
                         Plaintiff,                    AND ORDER
          v.                                           Criminal No. 17-135(2) ADM/DTS

Kelvin Baez, a/k/a “Taliban,”

                  Defendant.
______________________________________________________________________________

Nathan H. Nelson, Assistant United States Attorney, United States Attorney’s Office,
Minneapolis, MN, on behalf of Plaintiff.

R.J. Zayed, Esq., Dorsey & Whitney LLP, Minneapolis, MN, on behalf of Defendant Kelvin
Baez.
______________________________________________________________________________

                                        I. INTRODUCTION

          This matter is before the undersigned United States District Judge for a ruling on

Defendant Kelvin Baez’s (“Baez”) Motion to Reconsider [Docket No. 189]. Baez asks the Court

to reconsider its December 19, 2017 Memorandum Opinion and Order [Docket No. 160]

(“Order”) denying Baez’s Motion to Suppress Statements, Admissions, and Answers [Docket

No. 51] (“Motion to Suppress”). For the reasons set forth below, the Motion to Reconsider is

denied.

                                 II. RELEVANT BACKGROUND1

          On May 5, 2017, at approximately 7:15 p.m., while on routine patrol, Bloomington

Police Officer Jacob Gruber (“Officer Gruber”) pulled over Defendant Rodolfo Anguiano, Jr.

(“Anguiano”) for a traffic violation. Hr’g Tr. [Docket Nos. 114, 115] at 33–34, 37, 43–44.



          1
         The full background of this case is set forth in the Order, which is incorporated by
reference.
     CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 2 of 16



Anguiano told Officer Gruber that he was visiting from California to attend a cousin’s wedding

and was staying at the Embassy Suites on American Boulevard, which was a few blocks from the

site of the traffic stop. Id. at 50–51. Officer Gruber observed dryer sheets spread over the front

and back interior of Anguiano’s car. Id. at 46. Based on this observation and Anguiano’s

answers to Officer Gruber’s questions, Officer Gruber became suspicious that Anguiano was

trafficking drugs. Id. at 54. A drug detecting canine was called to sniff the outside of the car.

Id. The dog expressed interest in the undercarriage of the car but did not give a formal alert for

drugs. Id. at 57. As Officer Gruber was returning Anguiano’s driver’s license, he saw an

imitation Drug Enforcement Agency (“DEA”) badge and about a dozen cards that appeared to be

credit cards in Anguiano’s wallet. Id. at 57–62. Anguiano was then arrested and brought to jail.

Id. at 64, 66. Law enforcement officers performed an inventory search of the car and found a

satchel containing $4,000 in cash, two additional imitation DEA/FBI badges, and credit cards in

other people’s names. Id. at 61, 64–65. While searching the car, the officers noticed that the

dashboard and other interior panels appeared to be loose, as though the inside of the car had been

taken apart. Id. at 65.

       Later that same day, Officer Gruber and two other law enforcement agents went to the

Embassy Suites on American Boulevard to continue their investigation of Anguiano’s suspected

drug trafficking. Id. at 128–31, 281. The front desk confirmed that Anguiano was registered to

Room 714. Id. at 68, 129–30. The officers went to Room 714 and knocked on the door, which

was opened by Defendant Zyaira Marie Gavino (“Gavino”). Id. at 69. The officers asked

Gavino if they could speak with her, and she stepped back and motioned for the officers to enter

the two-room suite. Id. at 70, 284–85.


                                                 2
     CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 3 of 16



       Immediately inside the door to Room 714 was a living room area that included a pull-out

couch. Id. at 71, 191, 304. A separate bedroom was down a small, open hallway. Id. at 71, 76.

The door to the separate bedroom was open, and an armoire was visible through the doorway.

Id. at 190. The doors of the armoire were locked together with a rigid chain lock. Id. at 76.

       A man later identified as Baez was sitting on the couch in the living room. Id. at 71. A

set of GM car keys was beside him on the couch. Id. at 78. A glass methamphetamine pipe with

residue in plain view was on an end table next to Baez. Id. at 72–73, 286, 305. A backpack,

suitcase, and other luggage were in the living room with Baez and Gavino. Id. at 72.

       Baez and Gavino admitted to the officers that they had been smoking methamphetamine.

Id. at 286–87. Gavino also told Officer Gruber that she and Baez were married and were visiting

a friend at the hotel, and that they had been staying there with him for a few days. Id. at 75, 324;

Gov’t Ex. 5 at 3. Gavino stated that she knew the friend only by his nickname. Hr’g Tr. 75, 324.

Officer Gruber then asked for Gavino’s consent to conduct a search. Id. at 75. She agreed and

pointed to a suitcase, backpack, and bags that she identified as hers. Id. at 75, 78, 287. Officer

Gruber also requested and received Gavino’s consent to search the room. Id. at 75. Baez made

no statements regarding consent. Id. at 79.

       Officer Gruber searched the backpack and found men’s clothing and a small bag with

four .22 caliber bullets. Id. at 78, 193. The backpack also contained an owner’s manual for a

Chevy Equinox that matched a set of GM keys Officer Gruber saw in plain view on the living

room couch. Id. Upon finding the bullets, Officer Gruber informed Gavino and Baez that they

were being detained for safety reasons due to the possibility that there may be a gun in the suite.

Id. at 193–94. Gavino and Baez were then handcuffed. Id. at 193.


                                                 3
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 4 of 16



       The law enforcement officers proceeded to search the entire suite. Id. at 76–79. In the

back bedroom, the officers observed in plain view what appeared to be drug packaging material

in an open-topped garbage can. Gov’t Ex. 5 (“Search Warrant Aff.”) at 3. In the far corner of

the bedroom, the officers observed that a cell phone had been propped up to face the locked

armoire. Hr’g Tr. at 77. The cell phone appeared to be monitoring the armoire by streaming a

live video image from the phone camera to a Facebook Live website. Id. Officer Gruber asked

Baez where narcotics might be if any were in the room, and he testified that Baez responded,

“Well, in the armoire, obviously.” Id. at 79. Based on this comment, Officer Gruber requested a

K-9 officer to conduct a dog sniff of the room. Id. at 81. The drug dog alerted to the armoire

and to an adjacent dresser. Id.

       Officer Gruber “popped off” the front panel of a sink cabinet in the back bedroom and

found a plastic bag that contained a pillowcase with two large bundles of what he believed to be

multiple pounds of methamphetamine. Id. at 79. Upon finding the large quantity of suspected

drugs, the officers decided to freeze the room and obtain a search warrant to search the rest of

the room, including the armoire, and the Chevy Equinox. Id. at 80. Gavino and Baez were

placed under arrest at this time and were transported to the Bloomington Police Department. Id.

at 82–83.

       After obtaining a warrant to search the hotel room, the officers opened the armoire and

found additional methamphetamine and a handgun. Id. at 83–84. They also searched the Chevy

Equinox and found methamphetamine, marijuana, and a gun. Id. at 84.2


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         Baez correctly notes that the Order denying his Motion to Suppress mistakenly stated
that Baez and Gavino were arrested after the armoire and Chevy Equinox were searched, rather
than before. See Baez’s Mot. Reconsider at 8 (citing Order at 9). This inaccuracy does not alter

                                                 4
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 5 of 16



       The next afternoon, May 6, 2017, DEA Task Enforcement Officer Tom Maloney

(“Officer Maloney”) interviewed Gavino and Baez separately at the Bloomington Police

Department. Id. at 204–05, 217, 220–21, 249. Officer Maloney had a preexisting federal

investigation against Baez and Gavino that had been ongoing for the past few months. Id. at

261–62. At the beginning of his interview with Baez, Officer Maloney read him his Miranda

rights and Baez stated that he understood them. Id. at 252, Gov’t Ex. 6, Lines 56–61. Officer

Maloney also informed Baez that he had been investigating him for several months. Gov’t Ex. 6,

Lines 130–32, 534–37.

       On June 6, 2017, Anguiano, Baez, and Gavino were indicted for Conspiracy to Distribute

Methamphetamine and Possession with Intent to Distribute Methamphetamine. Indictment

[Docket No. 28].3 All three Defendants filed motions to suppress evidence obtained in violation

of the Fourth Amendment.4

       Baez argued that his post-arrest statements must be excluded because: (1) they were the

product of the illegal arrest of Anguiano and the illegal search of Anguiano’s hotel room; and (2)

the statements were not voluntary. See Baez’s Mem. Supp. Mot. Suppress [Docket No. 117] at




the conclusions in the Order.
       3
        A Superseding Indictment was filed against Baez on February 14, 2018. See
Superseding Indictment [Docket No. 181].
       4
         Gavino subsequently entered a plea of guilty to Using a Communication Facility to
Commit a Drug Trafficking Felony and withdrew her motion to suppress. See Plea Hr’g
Minutes [Docket No. 123]; Felony Information [Docket No. 121]. Anguiano entered a plea of
guilty following this Court’s denial of his Motion to Suppress. See Plea Agreement [Docket No.
172]. The Plea Agreement states that Anguiano reserves his right to appeal the denial of his
Motion and to Suppress, and provides that Anguiano may withdraw his plea of guilty if he
prevails upon appeal. Id.

                                                5
     CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 6 of 16



9–16. Although Baez’s Motion to Suppress included a sentence stating that his arrest “was

unlawful and without probable cause,” Mot. Suppress at 1, he did not provide an argument in

support of this conclusory assertion in his supporting memorandum. See generally Baez Mem.

Supp. Mot. Suppress.

       On October 23, 2017, United States Magistrate Judge David T. Schultz issued a Report

and Recommendation (“R&R”) [Docket No. 138] concluding that the police officers lacked

probable cause to arrest Anguiano and search his car without a warrant. The R&R thus

recommended suppressing Anguiano’s post-arrest statements and the evidence seized from his

car. Additionally, Judge Schultz found that the officers lacked valid consent to search the back

bedroom of the hotel suite and that the improper discovery of the methamphetamine in the sink

cabinet supplied the probable cause for the later-obtained search warrant. He thus concluded

that the searches of the armoire and Equinox were also improper. Judge Schultz further

determined that the illegally obtained evidence resulted in Baez’s arrest and his post-arrest

statements. The R&R thus concluded that the evidence was fruit of the poisonous tree and must

be suppressed from use against Anguiano and Baez.

       The Government objected, arguing that Anguiano’s arrest, the search of his vehicle, and

the search of the hotel suite were all constitutionally valid. The Government further contended

that even if Anguiano’s Fourth Amendment rights were violated, the evidence need not be

suppressed as to Baez because Baez lacked a privacy interest in the back bedroom of the hotel

suite and thus his Fourth Amendment rights were not violated. In responding to the objection,

Baez did not raise the issue of lack of probable cause to arrest him as an alternative ground for

affirming the R&R’s recommendation that Baez’s statements be suppressed.


                                                 6
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 7 of 16



       This Court overruled the Government’s objection in part, finding that the arrest of

Anguiano, the search of his vehicle, and the search of the sink cabinet in the back bedroom of the

hotel suite violated Anguiano’s Fourth Amendment rights. Therefore, some of the evidence

found in the hotel suite was suppressed as to Anguiano. However, the Court sustained the

Government’s objection to the suppression of evidence against Baez. The Court found that Baez

lacked a privacy interest in the back bedroom of the suite and thus his Fourth Amendment rights

were not violated. The Court reasoned that the back portion of the hotel suite was being actively

monitored through cell phone surveillance and thus Baez did not have a legitimate expectation of

privacy in that room. The Court also analyzed Baez’s post-arrest statements and concluded that

they were voluntary. Therefore, Baez’s Motion to Suppress was denied.

       After the Court issued its Order on the Government’s objections, Baez was appointed

new counsel because of a breakdown in the attorney-client relationship between Baez and his

former counsel. See Mot. Withdraw Counsel [Docket No. 161] at 1–4; Order Appointment

Counsel [Docket No. 164].

       On February 20, 2018, Baez’s new attorney filed the Motion to Reconsider, requesting

the Court reconsider its Order to address Baez’s previously undeveloped argument that law

enforcement lacked probable cause to arrest him. Baez argues that his mere presence in the hotel

suite where methamphetamine was found did not give rise to probable cause to arrest him. He

thus contends that his arrest is unlawful under the Fourth Amendment and that his post-arrest

statements to law enforcement personnel must be suppressed as fruit of the poisonous tree.




                                                7
     CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 8 of 16



                                       III. DISCUSSION

A. Standard Governing Motions to Reconsider

       The decision of whether to entertain a motion to reconsider a suppression ruling lies

within the district court’s discretion. United States v. Laws, 819 F.3d 388, 396 (8th Cir. 2016)

(citing United States v. Hayden, 759 F.3d 842, 845 (8th Cir. 2014)). In deciding to whether to

reconsider a suppression ruling, a court may consider the party’s explanation as to why a

particular argument could not have been raised earlier. See United States v. Chavez Loya, 528

F.3d 546, 555 (8th Cir. 2008).

       Baez argues that reconsideration is warranted because his failure to raise the probable

cause argument was largely due to a breakdown in the attorney-client relationship with his

former attorney. Assuming without deciding whether this reason justifies reconsidering the

Court’s Order, the Motion to Reconsider is denied. As explained below, ample probable cause

existed for Baez’s arrest.

B. Probable Cause for Arrest

       Baez argues that his mere presence as an overnight guest in Anguiano’s hotel room was

not sufficient to warrant a particularized belief that Baez had committed a crime. He contends

that the observations by law enforcement at the time of his arrest suggested criminal activity

only by others, not by Baez. Baez thus argues that his warrantless arrest lacked probable cause

and violated his Fourth Amendment rights.

       The Fourth Amendment of the United States Constitution protects “[t]he right of the

people to be secure in their persons, houses, papers, and effects, against unreasonable searches

and seizures.” To be constitutionally valid, a warrantless arrest must be based on probable


                                                8
     CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 9 of 16



cause. Beck v. Ohio, 379 U.S. 89, 91 (1964). “Probable cause exists to make a warrantless

arrest when, at the moment of the arrest, the collective knowledge of the officers involved was

‘sufficient to warrant a prudent [person] in believing that the [defendant] had committed or was

committing an offense.’” United States v. Wajda, 810 F.2d 754, 758 (8th Cir. 1987) (quoting

Beck, 379 U.S. at 91). A finding of probable cause does not require arresting officers to witness

actual criminal activity or collect enough evidence to justify a conviction. United States v.

Winarske, 715 F.3d 1063, 1067 (8th Cir. 2013). Rather, “the mere probability or substantial

chance of criminal activity . . . is all that is required.” Id. (internal quotations omitted).

        The probable cause determination is a “practical, commonsense, and non-technical

determination.” United States v. Reiner Ramos, 818 F.2d 1392, 1394 (8th Cir. 1987) (internal

quotations omitted). The facts must be analyzed for their cumulative effect in the totality of the

circumstances, rather than in isolation. Id. “In making a probable cause determination, law

enforcement officers have substantial latitude in interpreting and drawing inferences from factual

circumstances.” Winarske, 715 F.3d at 1067.

        Courts consistently hold that when officers have knowledge of facts indicating the

likelihood of drug dealing in a private and confined space such as a car or hotel room, and a

small number of individuals are present in that space, it is reasonable for the officers to infer a

common enterprise among the individuals because “drug dealing [is] an enterprise to which a

dealer would be unlikely to admit an innocent person with the potential to furnish evidence

against him.” Maryland v. Pringle, 540 U.S. 366, 373 (2003) (holding that probable cause

existed to arrest all three occupants in a car containing hidden cocaine because it would have

been reasonable to infer a common enterprise among the car’s occupants); see also United States


                                                   9
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 10 of 16



v. Cowan, 674 F.3d 947, 954 (8th Cir. 2012) (holding that officers who had information that

drug trafficking was occurring in an apartment had probable cause to believe that defendant was

engaged in a common drug trafficking enterprise with the apartment’s eight other occupants);

United States v. Romero, 452 F.3d 610, 618 (6th Cir. 2006) (“It was reasonable for the officers

to infer that [the defendant] was involved in the drug-dealing enterprise that was being

conducted out of the hotel room, because drug dealing is ‘an enterprise to which a dealer would

be unlikely to admit an innocent person with the potential to furnish evidence against him.’”)

(quoting Pringle, 540 U.S. at 373); United States v. Kouayara, 189 F. Supp. 3d 835, 842–43 (D.

Minn. 2016) (holding that a defendant’s presence in a small cabin with four other individuals and

over 460 pills “does not mean she is guilty of a crime, but it does mean that there was probable

cause to suspect that she might be guilty of a crime,” and noting that “officers could assume that

the drug dealer or dealers would only permit individuals involved in the enterprise to be present

in the cabin”).

       Under the totality of circumstances here, a reasonable person would believe that Baez

had committed or was committing a drug trafficking offense. The officers’ encounter with

Anguiano and search of his vehicle equipped them with facts strongly suggesting that Anguiano

was trafficking drugs. When they arrived at Anguiano’s hotel room they found Baez and Gavino

occupying Anguiano’s room while he was gone. The officers learned from Gavino that she and

her husband Baez had been staying with Anguiano for days in the small confines of the suite, yet

they did not know his name, only his nickname. The suite contained open and obvious

indications of illicit activity, including a methamphetamine pipe with residue, drug packaging

material in the trash can, and a chain-locked armoire being monitored by a cell phone video feed,


                                                10
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 11 of 16



all in plain view. Even without considering the methamphetamine hidden from view behind the

sink cabinet panel,5 it was reasonable for the officers to assume that Baez was involved in

Anguiano’s suspected drug trafficking enterprise. It was highly unlikely that Anguiano would

have otherwise permitted Baez to be present in the small hotel suite.

       In addition to the inference created by Baez’s presence in the hotel room, the officers

observed indications of criminal activity that were particular to Baez. The glass

methamphetamine pipe with residue on a table next to Baez suggested a connection between

Baez and the methamphetamine later found elsewhere in the room. The backpack where the

bullets were found also contained men’s clothing, which indicated that some of the items in the

backpack, including the bullets, may have belonged to Baez, who was married to Gavino and

had been staying with her in the front room. See also Tr. at 78 (testimony by Officer Gruber

stating that he “searched a backpack that Gavino pointed out as their property”) (emphasis

added). It is common for drug dealers to use guns to protect their drugs and money. See, e.g.,

United States v. Parish, 606 F.3d 480, 490 (8th Cir. 2010) (citing cases). Additionally, Baez

demonstrated his knowledge of the locked armoire and its contents when, in answer to the

officers’ question about where narcotics might be hidden, he responded, “Well, in the armoire,

obviously.” Tr. at 79.6 A drug dog alerted to the armoire, corroborating Baez’s statement that


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          In ruling on Baez’s motion to suppress the methamphetamine found under the sink
panel, the Court held that the evidence is admissible as to Baez because he had no expectation of
privacy in the back bedroom of the hotel suite. Order at 24. Whether or not that ruling is
correct, there are sufficient facts to provide probable cause for the arrest of Baez.
       6
        Baez argues that his answer to this question does not suggest that he had knowledge of
the armoire’s contents because anyone observing the room, even someone without knowledge of
the armoire’s contents, would have guessed that the visibly locked and monitored armoire
contained what the officers were searching for. However, it was reasonable for the officers to

                                                11
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 12 of 16



narcotics would be found there. Thus, the officers had probable cause to believe that Baez was

engaged in drug trafficking.

       To resist this conclusion, Baez argues that it was not reasonable for officers to infer that

Baez had access to or control over drugs found hidden, locked, and monitored in the back

bedroom, or that Baez was connected to possessing or distributing the contraband hidden there.

In support, Baez cites to cases holding that where contraband is found in the trunk of a car, a

passenger’s mere presence in the vehicle does not constitute probable cause. See Baez Reply

Mem. [Docket No. 198] at 2 (citing United States v. Munoz-Villalba, No. 1:05-248, 2005 WL

3050164, at *8 (M.D. Pa. Nov. 15, 2005); United States v. Mayberry, No. 12-153, 2013 WL

3560968, at *12 (D. Vt. July 11, 2013)). Those cases do not apply to the facts here. Although it

is not reasonable to infer that a passenger who is merely present in a car has knowledge of or a

connection to the contents in the car’s trunk, it is reasonable to infer that a person staying for

days in a hotel room with open and obvious signs of drug trafficking activity is involved in that

activity. Therefore, probable cause existed for Baez’s warrantless arrest, and his post-arrest

statements are not fruit of the poisonous tree.

C. Inevitable Discovery

       Even if the police lacked probable cause to arrest Baez before the search warrant was

obtained, the officers would have had probable cause to arrest him after the warrant was




interpret Baez’s statement as an admission of knowledge regarding the presence of drugs. The
officers were not required to adopt the most innocent interpretation of Baez’s answer. See
Winarske, 715 F.3d at 1067 (“In making a probable cause determination, law enforcement
officers have substantial latitude in interpreting and drawing inferences from factual
circumstances.”).

                                                  12
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 13 of 16



executed. Therefore, Baez still would have been in custody at the time he gave his statements to

the police.

       Under the inevitable discovery doctrine, if the prosecution can establish by a

preponderance of the evidence that information otherwise subject to suppression under the

exclusionary rule would have inevitably been discovered by lawful means, then the exclusionary

rule does not apply. United States v. James, 353 F.3d 606, 616–17 (8th Cir. 2003). To

demonstrate inevitable discovery, the prosecution must show that: “(1) there was a reasonable

probability that the evidence would have been discovered by lawful means in the absence of

police misconduct, and (2) that the government was actively pursuing a substantial, alternative

line of investigation at the time of the constitutional violation.” Id. at 617.

       Here, the police had already decided to seek a search warrant at the time Baez was

arrested. The warrant yielded additional evidence supporting probable cause to arrest Baez.

Specifically, police found methamphetamine and a firearm in the Chevy Equinox. The keys to

the Chevy Equinox were observed next to Baez on the couch. The owners manual for the car

was found along with men’s clothing in a backpack that was located in the front room where

Baez and his wife, Gavino, were staying. These facts connect Baez to the Chevy Equinox and

permit a reasonable inference that he had control over the car.7 Police also found drugs in the

armoire, where Baez suggested they would likely be. Therefore, probable cause would have


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          Baez argues that the title documents in the car were tied to Anguiano’s possession and
that the Equinox manual and a traffic ticket tied the car to Gavino’s control. The title documents
and traffic ticket do not preclude a finding that Baez also had control over the car. Indeed, that
items related to the Chevy Equinox were tied to more than one person suggests that multiple
people exerted control over the car. Based on the proximity of the car keys to Baez, as well as
the men’s clothing found with the owner’s manual in his wife’s backpack, it is reasonable to
infer that Baez was one of multiple people who had control over the car and its contents.

                                                  13
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 14 of 16



existed following the execution of the search warrant and Baez would have been in lawful

custody at the time he made the statements he seeks to suppress.

D. Attenuation

       Even if Baez was arrested without probable cause, his statements are not subject to the

exclusionary rule because the attenuation doctrine applies. Under the attenuation doctrine,

“[e]vidence is admissible when the connection between unconstitutional police conduct and the

evidence is remote or has been interrupted by some intervening circumstance.” United States v.

Yorgensen, 845 F.3d 908, 914 (8th Cir. 2017) (quoting Utah v. Strieff, 136 S. Ct. 2056, 2058

(2016)). To determine whether the causal connection between incriminating statements and an

arrest that violated the Fourth Amendment has been broken, courts consider: “(1) whether the

suspect has been advised of his Miranda rights prior to giving his statement; (2) the temporal

proximity of his statements to his illegal seizure; (3) the existence of intervening causes between

the illegal arrest and the statements; and (4) the purpose or flagrancy of the official misconduct.”

United States v. Reinholz, 245 F.3d 765, 779 (8th Cir. 2001). Here, all four factors weigh

against excluding Baez’s voluntary statement.

       First, Baez received a Miranda warning advising him that he had a right not to speak to

police and to have an attorney present. The giving of a Miranda warning is an “important,

although not dispositive,” factor that weighs against suppression of subsequent statements.

Rollins v. Kentucky, 448 U.S. 98, 107 (1980).

       Second, nearly 24 hours elapsed between Baez’s arrest and when he made his statement

to police. The time Baez spent overnight in jail gave him ample opportunity to reflect on his

situation and consider whether to confess. See United States v. Hernandez-Hernandez, 384 F.3d


                                                 14
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 15 of 16



562, 565 (8th Cir. 2004) (considering whether the defendant had time “to contemplate his

situation and reconsider his decision to confess”); Yorgensen, 845 F.3d at 914 (finding

attenuation where defendant spent two days in custody between his arrest and his interview).

       Third, intervening circumstances occurred between Baez’s arrest and his statement

because he was interviewed at a different location than his arrest and was questioned by different

law enforcement personnel than those who were present when he was arrested. See Hernandez-

Hernandez, 384 F.3d at 566–67 (holding that a change in location and different law enforcement

agents were intervening circumstances). Additionally, Officer Maloney informed Baez that a

separate federal investigation had been pending against Baez even before his arrest. See

Yorgensen, 845 F.3d at 914–15 (finding intervening circumstances where defendant’s statements

were made to an agent whose pending drug trafficking investigation had identified the defendant

as a person of interest). Based on these intervening circumstances, the May 6 interview was “a

new and distinct experience” from the May 5 arrest. Hernandez-Hernandez, 384 F.3d at 566.

       Finally, there is no evidence that the police engaged in purposeful or flagrant misconduct

in arresting Baez. “Courts have found purposeful and flagrant police misconduct where: (1) the

impropriety of the official’s misconduct was obvious or the official knew, at the time, that his

conduct was likely unconstitutional but engaged in it nevertheless; and (2) the misconduct was

investigatory in design and purpose and executed in the hope that something might turn up.”

United States v. Simpson, 439 F.3d 490, 496 (8th Cir. 2006). Neither situation applies here. In

light of Pringle and its progeny, discussed above, it was not obvious that Baez’s arrest was

improper or likely unconstitutional. Nor was the arrest an investigatory tactic used in hopes of




                                                15
    CASE 0:17-cr-00135-ADM-DTS Document 235 Filed 03/30/18 Page 16 of 16



eliciting a confession. To the contrary, the arrest was made after officers observed highly

suspicious indicia of Baez’s involvement in drug trafficking.

       Because all four attenuation factors weigh against suppressing Baez’s post-arrest

statement, his Motion to Suppress would still be denied even if his arrest was invalid.

Accordingly, Baez’s Motion to Reconsider is denied.

                                      IV. CONCLUSION

       Based upon the foregoing, and all of the files, records and proceedings herein, IT IS

HEREBY ORDERED that Defendant Kelvin Baez’s Motion to Reconsider [Docket No. 189] is

DENIED.
                                                     BY THE COURT:



                                                           s/Ann D. Montgomery
                                                     ANN D. MONTGOMERY
                                                     U.S. DISTRICT JUDGE

Dated: March 30, 2018.




                                                16
